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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

                                                           )
        UNITED STATES OF AMERICA ex rel.                   )
        ROBINS, et al.,                                    )
                                                           )
                          Plaintiffs-Relators,             )
                                                                     Civil Action No. 1:10-cv-12256-DPW
                                                           )
                   vs.                                     )
                                                           )
        LINCARE INC., et al.,                              )
                                                           )
                          Defendants.                      )
                                                           )

                                     STIPULATION OF DISMISSAL
                                     OF ALL CLAIMS AND PARTIES

                   Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Relators SallyJo

        Robins, Kathleen Dunlap, Germano Lima, and Roberto Rabassa (collectively,

        “Relators”), and Defendants Lincare Inc. and Lincare Holdings Inc. hereby stipulate and

        agree to the dismissal with prejudice as to Relators of all claims, counts and causes of

        action asserted in this action, and the dismissal without prejudice as to the United States,

        with each party to bear its own respective fees and costs related hereto, all rights of

        appeal being waived.

                   A proposed form of Order is attached.




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        STIPULATED AND AGREED:

        RELATORS SALLYJO ROBINS,                 LINCARE INC. AND LINCARE
        KATHLEEN DUNLAP, GERMANO                 HOLDINGS INC.
        LIMA, AND ROBERTO RABASSA

        By their attorneys,                      By their attorneys,


        /s/ Thomas M. Greene           .         /s/ Lawrence M. Kraus             .
        Thomas M. Greene (BBO No. 210020)        Michael J. Tuteur (BBO No. 543780)
        tgreene@greenellp.com                    Lawrence M. Kraus (BBO No. 564561)
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        Telephone: (617) 261-0040                Email: mtuteur@foley.com
                                                 Email: lkraus@foley.com
        and
                                                 June 26, 2017
        /s/ Daniel C. Oliverio        .
        Daniel C. Oliverio, Esq
        John L. Sinatra, Jr., Esq.
        Reetuparna Dutta, Esq.
        Admitted pro hac vice
        The Guaranty Building
        140 Pearl Street, Suite 100
        Buffalo, New York 14202
        Telephone: (716) 856-4000

        June 26, 2017




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                                        CERTIFICATE OF SERVICE

                   I certify that, on June 26, 2017, this document (filed through the ECF system) will

        be sent electronically to the registered participants as identified on the Notice of

        Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

        participants.

                                                                       /s/ Lawrence M. Kraus
                                                                       Lawrence M. Kraus




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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS

                                                            )
        UNITED STATES OF AMERICA ex rel.                    )
        ROBINS, et al.,                                     )
                                                            )
                         Plaintiffs-Relators,               )
                                                                    Civil Action No. 1:10-cv-12256-DPW
                                                            )
                   vs.                                      )
                                                            )
        LINCARE INC., et al.,                               )
                                                            )
                         Defendants.                        )
                                                            )

                                          ORDER OF DISMISSAL

             After review and consideration of the Stipulation of Dismissal of All Claims and

        Parties and the United States’ Consent thereto, it is ORDERED AND ADJUDGED:

             1. The Stipulation of Dismissal of All Claims and Parties is approved by the Court.

             2. All claims, counts and causes of action asserted in this action are dismissed with

        prejudice as to Relators SallyJo Robins, Kathleen Dunlap, Germano Lima, and Roberto

        Rabassa, and without prejudice as to the United States of America.

             3. The Clerk is directed to close this case.

                   IT IS SO ORDERED,

                   This ___ day of ________________, 2017.

                                                                ______________________________
                                                                Douglas P. Woodlock
                                                                United States District Judge




4825-2409-7605.9
